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                       UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                  CRIMINAL ACTION

V.                                                        NO. 12-1

KEVIN JACKSON                                             SECTION "F"

                                  ORDER & REASONS

        Before the Court is Kevin Jackson's motion to sever.               For the

reasons that follow, Jackson's motion is DENIED.

                                    Background

        On October 18, 2012, the Federal Grand Jury returned a twenty-

two    count   superceding      indictment,     charging    defendants      Walter

Porter,     a/k/a    "Urkel,"     a/k/a    "Moonie,"   Andre     Hankton,    Nakia

Hankton, Shirley Hankton, Telly Hankton, a/k/a "Third," a/k/a

"Wild,"     Thomas   Hankton,      a/k/a   "Squirt,"    Troy    Hankton,    George

Jackson,     a/k/a   "Black,"      Kevin    Jackson,   Netthany      Schexnayder,

Derrick Smothers, a/k/a "Dump," Terrell Smothers, and Sana Johnson

with various violations of federal laws.               The indictment alleges

that beginning on a date unknown, but prior to January 1996, and

continuing to the date of the superceding indictment, various

defendants were part of a criminal enterprise that historically

encompassed the Uptown Central City area of New Orleans, primarily

concentrated in the area bordered by Jackson Avenue, St. Andrew

Street, Simon Bolivar, and Oretha Castle Haley.                Specifically, the

defendants are charged as follows:

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         •      Count 1: RICO Conspiracy
                     Defendants Nakia Hankton, Shirley Hankton,
                     Telly Hankton, Thomas Hankton, Troy Hankton,
                     George   Jackson,   Walter   Porter,    Derrick
                     Smothers, and Terrell Smothers were charged
                     with conspiring to conduct the affairs of an
                     enterprise through a pattern of racketeering
                     activity,   consisting   of    multiple    acts
                     involving murder, bribery, trafficking in
                     controlled substances, and possession with the
                     intent to distribute controlled substances,
                     including cocaine base (crack cocaine),
                     cocaine   hydrochloride    (powder   cocaine),
                     heroin, and marijuana.1

         •      Count 2: Conspiracy to Distribute Controlled
                Substances
                     Defendants Nakia Hankton, Shirley Hankton,
                     Telly Hankton, Thomas Hankton, Troy Hankton,
                     George Jackson, Derrick Smothers, and Terrell
                     Smothers did knowingly and intentionally
                     combine, conspire, and confederate and agree
                     with each other to distribute 280 grams or
                     more of cocaine base (crack cocaine), five
                     kilograms or more of cocaine hydrochloride
                     (powder cocaine), one kilogram or more heroin,
                     and a quantity of marijuana.

         •      Count 3: Conspiracy to Possess Firearms
                     Defendants Andre Hankton, Nakia Hankton, Telly
                     Hankton, Thomas Hankton, Troy Hankton, George
                     Jackson, Kevin Jackson, Derrick Smothers,
                     Terrell Smothers, and Walter Porter did
                     knowingly and intentionally combine, conspire,
                     confederate and agree with each other to,
                     during and in relation to a crime of violence
                     and a drug trafficking crime, use, carry, and
                     possess firearms in furtherance of a crime of
                     violence and drug trafficking.




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       Notably, the indictment alleges 101 overt acts that were
committed by the defendants in furtherance of the conspiracy and
to accomplish the objects of the conspiracy.


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      •       Count 4: Conspiracy to Obstruct Justice
                   Defendant Walter Porter did knowingly and
                   intentionally combine, conspire, confederate
                   and agree with other persons, to corruptly
                   obstruct, influence, and impede an official
                   proceeding by attempting to cause K.E. to
                   falsely claim that G.H. did not possess a
                   firearm on June 23, 2007, but rather that K.E.
                   possessed the firearm.

      •       Count 5: Murder in Aid of Racketeering
                   Defendants Andre Hankton and Telly Hankton as
                   consideration for the receipt of, and as
                   consideration for a promise and an agreement
                   to pay, and for the purpose of gaining
                   entrance to and maintaining and increasing
                   position in the enterprise, murdered Darnell
                   Stewart.

      •       Count 6: Causing Death Through the Use of a Firearm
                   Defendants Andre Hankton and Telly Hankton did
                   knowingly use and carry a firearm during and
                   in relation to a crime of violence and drug
                   trafficking crime.

      •       Count 7: Possession of a Short-Barreled Shotgun
                   Defendant Andre Hankton knowingly possessed a
                   Winchester 20 gauge short-barreled shotgun,
                   which is not registered to him.

      •       Count 8: Murder in Aid of Racketeering
                   Defendants Telly Hankton, Walter Porter, and
                   Kevin Jackson did murder Jesse Reed.

      •       Count 9: Causing Death Through the Use of a Firearm
                   Defendants Telly Hankton, Walter Porter, and
                   Kevin Jackson did knowingly use and carry a
                   firearm during and in relation to a crime of
                   violence and drug trafficking crime.

      •       Count 10: Murder in Aid of Racketeering
                   Defendants Walter Porter and Thomas Hankton as
                   consideration for the receipt of, and as
                   consideration for a promise and an agreement
                   to pay, and for the purpose of gaining
                   entrance to and maintaining and increasing
                   position in the enterprise, murdered Hasan

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                    Williams.

      •       Count 11: Causing Death Through the Use of a
              Firearm
                   Defendants Walter Porter and Thomas Hankton
                   did knowingly use and carry a firearm during
                   and in relation to a crime of violence and
                   drug trafficking crime.

      •       Count 12: Felon in Possession of a Firearm
                   Defendant    Walter   Porter,   having   been
                   previously convicted of a crime punishable by
                   imprisonment for a term exceeding one year,
                   did   knowingly   posses  in  and   affecting
                   interstate commerce an unknown make and model
                   of a firearm.

      •       Count 13: Assault with a Dangerous Weapon in Aid of
              Racketeering
                   Defendants Thomas Hankton, Telly Hankton, and
                   Walter Porter did commit an assault with a
                   dangerous weapon on J.M.

      •       Count 14: Use and Carrying of a Firearm During and
              in Relation to a Crime of Violence and a Drug
              Trafficking Crime
                   Defendants Thomas Hankton, Telly Hankton, and
                   Walter Porter did knowingly use and carry a
                   firearm during and in relation to a crime of
                   violence and drug trafficking crime.

      •       Count 15: Murder in Aid of Racketeering
                   Defendant Walter Porter as consideration for
                   the receipt of, and as consideration for a
                   promise and an agreement to pay, and for the
                   purpose of gaining entrance to and maintaining
                   and increasing position in the enterprise,
                   murdered Curtis Matthews.

      •       Count 16: Causing Death Through the Use of a
              Firearm
                   Defendant Walter Porter did knowingly use and
                   carry a firearm during and in relation to a
                   crime of violence and drug trafficking crime.




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      •       Count 17: Conspiracy to Commit Misprision of a
              Felony
                   Defendants     Thomas    Hankton,     Netthany
                   Schexnayder, and Sana Johnson did knowingly
                   and willfully combine, conspire, and agree
                   with each other to knowingly commit the crime
                   of misprision of a felony, having knowledge of
                   the actual commission of felonies.

      •       Count 18: Accessory After the Fact to Murder
                   Defendants     Thomas    Hankton,     Netthany
                   Schexnayder, and Sana Johnson, knowing that an
                   offense against the United States has been
                   committed, received, relieved, comforted, and
                   assisted the offender, Telly Hankton, in order
                   to   hinder   and   prevent   the   offender’s
                   apprehension, trial, and punishment.

      •       Count 19: Felon in Possession of a Firearm
                   Defendant   Walter    Porter,   having   been
                   previously convicted of a crime punishable by
                   a term exceeding one year, did knowingly
                   possess in and affecting interstate commerce,
                   ammunition and a Romarm 7.62 caliber semi-
                   automatic assault rifle.

      •       Count 20: Felon in Possession of a Firearm
                   Defendant Walter Porter, having been convicted
                   of a crime punishable by imprisonment for a
                   term exceeding one year, did knowingly possess
                   in   and   affecting    interstate   commerce,
                   ammunition and a model 17, 9 mm Glock semi-
                   automatic handgun.

      •       Count 21: Money Laundering Conspiracy
                   Defendants Telly Hankton, Thomas Hankton, and
                   Shirley    Hankton,    did   knowingly     and
                   intentionally combine, conspire, confederate
                   and agree with each other to knowingly and
                   willfully conduct and attempt to conduct
                   financial transactions, which involved the
                   proceeds of a specified unlawful activity.

      •       Count 22: Perjury
                   Defendant Shirley Hankton, under oath and duly
                   sworn, did knowingly and unlawfully and


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                      contrary to oath make certain material false
                      statements to a United States Grand Jury.


     In summary, over a period of at least sixteen years, and

involving fourteen defendants, the indictment alleges charges of a

most serious, wicked, and alarming nature; the murder of four

individuals,   assault    with   a    deadly   weapon,     possession      and

distribution of a significant quantity of various drugs (crack

cocaine, powder cocaine, heroin, and marijuana), a variety of

weapons offenses (a 20 gauge short-barreled shotgun, Romarm 7.62

caliber semi-automatic assault rifle, and 9 mm Glock semi-automatic

handgun), money laundering, lying under oath, and obstruction of

justice.

     Reflecting the seriousness of the charges in this case, five

of the defendants–-Andre Hankton, Telly Hankton, Walter Porter,

Kevin Jackson, and Thomas Hankton, each charged with murder--are

eligible to face the death penalty if convicted.                Moreover, on

December 5, 2012, the Court ordered that an anonymous jury will be

used for the trial in this case.           In an extensive opinion, the

Court explained that an anonymous jury is necessary based on the

Krout factors,2 relevant case law, and the allegations against the


     2
        These include:
 (1) The defendants’ involvement in organized crime;
 (2) The defendants’ participation in a group with the capacity
     to harm jurors;
 (3) The defendants’ past attempts to interfere with the judicial
     process or witnesses;
 (4) The potential that, if convicted, the defendants will suffer

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defendants.

     One of the death-eligible defendants, Kevin Jackson, now moves

to sever his case from that of his codefendants.                   The Court has

already denied motions to sever filed by two of the non-death

eligible     defendants,     Terrell      Smothers     and     Troy     Hankton.

Nonetheless, Jackson contends that his trial should be severed

because a joint trial would cause him irreparable prejudice and

because the prolonged capital authorization process violates his

speedy trial rights.

                           Law and Application

     Rule 8(b) of the Federal Rules of Criminal Procedure states:

     The indictment or information may charge 2 or more
     defendants if they are alleged to have participated in
     the same act or transaction, or in the same series of
     acts or transactions, constituting an offense or
     offenses. The defendants may be charged in one or more
     counts together or separately. All defendants need not
     be charged in each count.

When defendants are indicted together, joint trials are favored,

because “[t]hey promote efficiency and serve the interests of

justice by avoiding the scandal and inequity of inconsistent

verdicts.”     Zafiro v. United States, 506 U.S. 534, 537 (1993)

(internal    quotation     marks    and   citation    omitted).         This       is



    a lengthy incarceration and substantial monetary penalties;
    and
(5) The presence of extensive publicity that could enhance the
    possibility that the jurors’ names would become public and
    expose them to intimidation and harassment.
 United States v. Krout, 66 F.3d 1420, 1427 (5th Cir. 1995).

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especially true in a conspiracy case.               United States v. Perez, 489

F.2d 51, 65 (5th Cir. 1973).

     However,     recognizing       that     joinder       might    in   some        cases

prejudice a defendant, or even the government, Rule 14 of the

Federal Rules of Criminal Procedure invests the Court with the

discretion to “sever the defendants’ trials, or provide any other

relief that justice requires.”              A severance is appropriate under

Rule 14 only where “there is a serious risk that a joint trial

would compromise a specific trial right of one of the defendants,

or prevent the jury from making a reliable judgment about guilt or

innocence.”       Zafiro,     506    U.S.    at     539.      Severance       could     be

appropriate, for example, where evidence that is probative of one

defendant’s   guilt     but    inadmissible         against    another        defendant

presents a risk of prejudice. Id.                Severance should not be granted

where less drastic measures, such as curative jury instructions,

will suffice.     Id.   Finally, the Court notes that motions to sever

are rarely granted, and a decision to deny such a motion will be

reviewed on appeal only for abuse of discretion.                    Perez, 489 F.2d

at 65.

     Kevin    Jackson    seeks       to     be    tried    separately         from     his

codefendants.      Although Jackson is himself death-eligible, he

contends   that    without     a    severance       from    other      more    culpable

codefendants, a jury will be unable to fairly judge his guilt or

innocence.    Jackson asserts that all of the charges against him


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arise out of a single incident, and notes that he is not charged in

Counts 1 and 2, the RICO and drug conspiracies.            He contends that

the   jury   will   impermissibly    consider     evidence       about   "Telly

Hankton's 20-year reign of terror over an entire neighborhood" and

that he will suffer unfair prejudice as a result.                   The Court

disagrees.

      The Court rejects Jackson's submission that evidence related

to the other crimes allegedly committed by Telly Hankton and the

members of his criminal enterprise will be inadmissible against

him; although Jackson is not charged with participating in the RICO

or drug conspiracies, he is, notably, charged with murder in aid of

racketeering, conspiracy to possess firearms, and causing death

through use of a firearm, which require the Government to present

much of the same evidence. Moreover, neither Jackson or this Court

can say now what will or will not be let into evidence at trial.

The Court also rejects Jackson's contention that its order for an

anonymous    jury   compels    the   conclusion    that    a     severance       is

warranted.    As the Court already explained in its order denying

Terrell Smothers' and Troy Hankton's motions for severance,3 any

risk of prejudice that might possibly arise at trial will be cured

by the Court through conscientious and less drastic measures than



      3
        Although Smothers and Hankton moved to sever in August
and September, respectively, Jackson waited until October to file
his motion, and then later requested an extension of the hearing
date.

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severance, including cautioning jury instructions and an intense

jury selection process.4      See id.

     Jackson contends that his case is analogous to United States

v. McCrae, 702 F.3d 806 (5th Cir. 2012), where the Fifth Circuit

held that a severance was warranted.          The Court is not convinced.

In McRae, the Fifth Circuit considered the appeals of three New

Orleans Police Officers, David Warren, Gregory McRae, and Travis

McCabe, tried jointly and convicted for charges related to the

death of Henry Glover.         Id. at 810-11.        Warren appealed the

district court's denial of his repeated motions to sever.                  Id.

Warren had been charged with shooting Glover while guarding a

police substation in the wake of Hurricane Katrina, while McRae and

McCabe were charged with orchestrating a gruesome coverup that

included burning Glover's body and falsifying a police report after

the shooting.   Id. at 821.     The Fifth Circuit held that Warren's

case presented the rare situation warranting severance, and vacated

Warren's convictions and sentences and remanded for a new trial.

Id. at 828.     The court reasoned that a marginal relationship

existed between the charges and evidence against Warren and that

against his codefendants; that a significant difference existed

between the simplicity of the underlying charges against Warren and

the crimes alleged against his codefendants; and that the charges


     4
        As counsel obviously are aware, the use of an anonymous
jury, under proper case-specific circumstances, is hardly unknown
or unusual.

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and evidence against the codefendants, from which Warren was

disassociated, were highly inflammatory and prejudicial in nature.

Id.   Here, unlike in the case of Warren, the charges and evidence

against Jackson and his codefendants are closely related; Jackson

is charged with the most serious of the offenses, specifically,

murder; and, as already discussed, Jackson fails to identify

inflammatory and prejudicial evidence that will necessarily be

inadmissable against him at trial.          Moreover, in McCrae, the Fifth

Circuit specifically held that the district court did not abuse its

discretion in denying Warren's motions to sever raised before

trial.   Id.

      Finally,    Jackson     contends      that     the   prolonged        capital

authorization     process   necessitated        by    joinder       abridges      his

constitutional right to a speedy trial.                Once again, the Court

disagrees.       Contrary   to   Jackson's      contentions,        there    is   no

indication that a severance would affect the expediency of the

authorization process.      Neither is there any support for Jackson's

assertion that he may "waive" his right to the authorization

process and submit himself to capital punishment in exchange for an

earlier trial date.     And although Jackson purports to assert his

right to a speedy trial, the Court notes that Jackson's own actions

have caused many of the delays in this case. Jackson has filed

several pretrial motions, has repeatedly requested extensions of

deadlines, has joined in two motions to continue the pretrial


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conference and trial dates, and has even agreed to the current

scheduling order, which sets the trial for 180 days from the

Attorney General's final decision on whether to seek the death

penalty.      The record strongly suggests that Jackson does not

seriously wish to be tried promptly.              See United States v. Frye,

489    F.3d   201,   212   (5th   Cir.   2007)(holding    that      Frye   had   not

diligently asserted his speedy trial right where he repeatedly

moved for continuances).5

       Jackson fails to demonstrate any specific or discrete risk to

a trial right or that the jury will be unable to reliably judge his



5
   The Court doubts that Jackson has properly asserted his 6th
Amendment speedy trial right. See United States v. Parker, 505
F.3d 323, 330 (5th Cir. 2007)(contrasting Parker's "first
affirmative indication that he wanted to proceed to trial" from the
first time "he affirmatively asserted his right to a speedy
trial"); see also Frye, 489 F.3d at 211 (a formal assertion of the
speedy trial right generally takes the form of either an objection
to a continuance or a motion asking to go to trial). Rather than
seriously demanding to proceed to trial promptly, Jackson merely
references his speedy trial right in support of his request for a
severance.   See Frye, 489 F.3d at 212.       However, out of an
abundance of caution, and even though Jackson fails to separately
brief the issue, the Court finds that any speedy trial claim fails
under the Barker balancing test. In Barker v. Wingo, 407 U.S. 514
(1972), the Supreme Court outlined four factors to consider in
assessing whether a defendant's right to a speedy trial has been
violated: (1) the length of the delay, (2) the reason for the
delay, (3) the defendant's assertion of his right to a speedy
trial, and (4) the actual prejudice to the defendant. Although
Jackson was indicted in October 2012, the seriousness of the
charges and the complexity of this case are valid and patently
obvious reasons justifying delay. Jackson has not diligently
asserted his speedy trial right for the reasons described above,
and Jackson fails to show actual prejudice. Id.; see Parker, 505
F.3d at 328 (defendant must show actual prejudice unless the first
three Barker factors weigh heavily in his favor).

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guilt or innocence should he be tried jointly with his various

codefendants. See Zafiro, 506 U.S. at 539. Accordingly, Jackson's

motion to sever is DENIED.

                              New Orleans, Louisiana, January 13, 2014



                                   ____________________________
                                        MARTIN L. C. FELDMAN
                                    UNITED STATES DISTRICT JUDGE




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